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SOUTHERN DISTRICT OF MISSISSIPPI
NORTHERN DIVISION

 

HANNAH ROBINSON, a minor child
who sues by and through her Mother
and Next Friend KIMBERLY
ROBINSON, individually and on behalf
of the wrongful death beneficiaries of
BILLY ROBINSON, deceased,

Plaintiff,

Civil Action No. O ‘| 55 7a-

Vv.

EXPRESS FREIGHT, INC., a
corporation, and JOHN DOES
I-X,

Nm Ne Ne Ne ee ee Ne ee ee ee ee ee”

Defendants.
COMPLAINT

COMES NOW the Plaintiff, Hannah Grace Robinson, by and through her
Mother and Next Friend, Kimberly Robinson, individually and on behalf of the
wrongful death beneficiaries of Billy Robinson, deceased, and files this Complaint
against the Defendant, Express Freight, Inc., and respectfully shows unto this
Honorable Court as follows:

PARTIES
1. Hannah Grace Robinson is the daughter of Billy Robinson, deceased,

and a minor resident citizen of the State of Alabama.
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2. Kimberly Robinson is the natural mother of Hannah Grace Robinson
and an adult resident citizen of the State of Alabama.

3. Defendant Express Freight, Inc. is a Delaware corporation, upon whom
process may be served by serving its registered agent, The Company Corporation,
2711 Centerville Road, Suite 400, Wilmington, DE 19808.

4, Defendants, John Does I-X, are corporations, business entities, or other
persons, either individually or acting through their agents, servants or employees,
who caused an event to occur out of which the claims that are the subject of this
lawsuit arose. In addition, the enumerated business entities do business within the
State of Mississippi. Plaintiffs do not know at this time the true identities of the
Defendants so denominated and, therefore, sue them by fictitious names. Such
fictitious Defendants, however, participated in the events which caused injuries to
Plaintiffs, as hereinafter set forth. Plaintiffs will ask leave of this Court to amend
their Complaint to reflect the true names of such fictitious Defendants as soon as the
identities can be ascertained, and the appropriate charging allegations pertaining to
each such Defendant will be set forth in detail at that time.

JURISDICTION AND VENUE
5. Plaintiff readopts and incorporates Paragraphs one (1) through four (4)

as if fully set forth herein.
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6. Jurisdiction is proper in United States District Court pursuant to 28
U.S.C.A. § 1332 as there is complete diversity of citizenship between Plaintiffs and
Defendants and the amount in controversy, exclusive of interests and costs, exceeds
the sum of SEVENTY-FIVE THOUSAND DOLLARS ($75,000.00). Venue in this
Court is proper pursuant to 28 U.S.C.A. § 1391 insomuch as a substantial part of the
counts giving rise to this complaint occurred in Newton County, Mississippi.

FACTUAL ALLEGATIONS

7. The Plaintiffadopts and incorporates paragraphs one (1) through six (6)
as if fully set out herein.

8. On August 11, 2016, decedent Billy Robinson was operating a delivery
truck on behalf of United Parcel Service of America (“UPS”), traveling on Interstate
Highway 20 in Newton County, Mississippi.

9. At the same time and place, a driver operating a truck belonging to
Defendant Express Freight, Inc. caused his truck to collide with Billy Robinson’s
vehicle.

10. As the direct and proximate consequence of the collision described in

Paragraph nine (9), the decedent, Billy Robinson, was killed.
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CAUSES OF ACTION
I. NEGLIGENCE/ GROSS NEGLIGENCE

11. Plaintiff adopts and incorporates paragraphs one (1) through ten (10) as
if fully set out herein.

12. The driver of the commercial truck owned by Defendant Express
Freight, Inc., and operated on behalf of Express Freight Inc., while acting in the line
and scope of his or her employment with Express Freight, Inc. breached his or her
duty by negligently, recklessly, or wantonly failing to yield the right of way and
otherwise failing to obey traffic rules, causing his or her vehicle to collide with the
truck operated by decedent Billy Robinson on Interstate Highway 20 in Newton
County, Mississippi.

13. Defendant’s driver was under a duty at the time of the incident forming
the basis of Plaintiff's Complaint to refrain from operating a motor vehicle on a
public roadway negligently, recklessly, or wantonly.

14. Asadirect and proximate consequence of the conduct of the Defendant,
decedent Billy Robinson was killed.

15. Accordingly, Plaintiff, Hannah Grace Robinson, by and through her
Mother and Next Friend Kimberly Robinson, individually and on behalf of the
wrongful death beneficiaries of Billy Robinson, brings this action against Defendant

Express Freight, Inc. for wrongful death, pursuant to Miss. Code Ann. § 11-7-13.
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II. RESPONDEAT SUPERIOR

16. The Plaintiff adopts and incorporates Paragraphs one (1) through
fifteen (15) as if fully set out herein.

17. On the date of the incident forming the basis of this action, Defendant
Express Freight, Inc. was the principal and/or employer of the driver operating the
vehicle on behalf of Defendant.

18. At the time of the occurrence forming the basis of the Plaintiffs
Complaint, the driver who operated the truck owned by Express Freight, Inc. was
acting as the agent, servant and/or employee of Defendant Express Freight, Inc.

19. At the time of the occurrence forming the basis of the Plaintiff's
Complaint, the driver who operated the truck owned by Express Freight, Inc. was
acting within the line and scope of his employment with Defendant Express Freight,
Inc.

20. At the time of the occurrence forming the basis of the Plaintiff's
Complaint, the driver who operated the truck owned by Express Freight, Inc. was
operating said vehicle in furtherance of the business purposes of Defendant Express
Freight, Inc.

21. As a result of the foregoing, Defendant Express Freight, Inc. is
vicariously liable to Plaintiff for the negligent, reckless, or wanton conduct of its

employee driver, who proximately caused the death of the decedent, Billy Robinson.
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Iii. NEGLIGENT/WANTON HIRING, TRAINING, RETENTION
AND/OR ENTRUSTMENT

22. The Plaintiff adopts and incorporates Paragraphs one (1) through
twenty-one (21) as if fully set out herein.

23. Atthe time of the occurrence forming the basis of this action, the driver
operating Defendant’s commercial vehicle was acting as the agent, servant and/or
employee of the Defendant.

24. As the driver’s principal and/or employer, Defendant Express Freight,
Inc. had a duty to exercise due and proper diligence in an effort to hire, train and/or
supervise competent employees.

25. Defendant negligently or wantonly breached this duty by failing to hire,
train or supervise competent employees on or about the date of the occurrence made
the basis of this action.

26. Asa proximate consequence thereof, Billy Robinson was killed.

IV. NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

27. The Plaintiff adopts and incorporates Paragraphs one (1) through
twenty-six (26) as if fully set out herein.

28. Defendant is also liable to Plaintiff Hannah Grace Robinson,
individually and to the wrongful death beneficiaries of Billy Robinson, deceased, for
negligent infliction of emotional distress. Specifically, Plaintiff and the wrongful

death beneficiaries have suffered severe emotional distress from the sudden and

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violent death of their family member, which was proximately caused by the
negligence or gross negligence of the Defendant.
DAMAGES

29. The Plaintiff adopts and incorporates Paragraphs one (1) through
twenty-eight (28) as if fully set out herein.

30. Asa result and/or contributing cause of Defendant’s negligence/gross
negligence, Plaintiff suffered, and will continue to suffer mental and emotional pain
and suffering, medical expenses, funeral expenses, loss of enjoyment of life, loss of
love, society and companionship, loss of relationship and severe and permanent
emotional distress.

31. Asa result of the Defendant’s negligence/gross negligence, Plaintiff
has suffered pain and suffering, loss of enjoyment of life, loss of love and affection,
economic loss, and loss of future income.

32. Therefore, the Plaintiff is entitled to any and all compensatory damages
that are recoverable for her claims, including, but not limited to, all damages
recoverable pursuant to the laws of the State of Mississippi.

33. Furthermore, Defendant’s omissions, conduct, breaches, and failures
were grossly negligent and/or were in conscious, willful, wanton, and reckless
disregard of the rights of the Plaintiff and Plaintiff's decedent, thereby justifying an

award of punitive damages against the Defendant.
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WHEREFORE, PREMISES CONSIDERED, Plaintiff requests a trial by
jury and judgment against the Defendant, individually, jointly and/or severally, for
compensatory damages and all costs and expenses, and punitive damages against the
Defendant in an amount sufficient to punish and deter Defendant and others from
similar behavior, including attorney’s fees, prejudgment interest calculated from the
date of this demand until paid, and all costs of bringing this proceeding. Plaintiff
further prays for all other relief, of either a legal or equitable nature, to which they
may be entitled.

Respectfully submitted,

OL LAA

Nathan Van Der Veer
Attorney for Plaintiff
Farris, Riley & Pitt, LLP
1700 Financial Center
505 20" Street North
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P (205) 324-1212
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PLEASE SERVE DEFENDANT AT THE FOLLOWING ADDRESS:

Express Freight Inc.

The Company Corporation

2711 Centerville Road, Suite 400
Wilmington, DE 19808
